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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 21-MJ-27
HUNTER EHMKE, : VIOLATIONS:
: 18 U.S.C. § 1361
Defendant. : (Destruction of Government Property)

18 U.S.C. § 1512(¢)(2)

(Obstruction of an Official Proceeding)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a

Capitol Building)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT Case: 1:21-cr-00029
Assigned To : Chutkan, Tanya S.
The Grand Jury charges that: Assign. Date : 1/27/2021
Description: INDICTMENT (B)
COUNT ONE
On or about January 6, 2021, within the District of Columbia, HUNTER EHMKE,
willfully and by means of kicking and punching, did injure property of the United States, that is,
windows of the United States Capitol Building, thereby causing damage to such property in excess

of $1,000.

(Destruction of Government Property, in violation of Title 18, United States Code,
Section 1361)
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COUNT TWO
On or about January 6, 2021, within the District of Columbia, HUNTER EHMKE,
attempted to, and did corruptly obstruct, influence, and impede a proceeding before Congress, an
official proceeding, by breaking windows of the United States Capitol Building.

(Obstruction of an Official Proceeding, in violation of Title 18, United States Code,
Section 1512(c)(2))

COUNT THREE
On or about January 6, 2021, in the District of Columbia, HUNTER EHMKE, willfully
and knowingly engaged in disorderly and disruptive conduct on the Grounds of, or in, any Capitol
Building with the intent to impede, disrupt, and disturb the orderly conduct of a session of Congress
or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT FOUR
On or about January 6, 2021, in the District of Columbia, HUNTER EHMKE, willfully
and knowingly paraded, demonstrated, and picketed in any Capitol Building.
(Parading, Demonstrating, or Picketing in the Grounds of a Capitol Building, in

violation of Title 40, United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

He FOREPERSON.

WacheeQ Sher.
Attorney of the United States in
and for the District of Columbia.
